               Case 2:10-cr-00443-TLN Document 151 Filed 04/02/14 Page 1 of 4


     JOHN R. MANNING (SBN 220874)
 1   ATTORNEY AT LAW
 2
     1111 H Street, # 204
     Sacramento, CA. 95814
 3   (916) 444-3994
     Fax (916) 447-0931
 4

 5
     Attorney for Defendant
     VI A. LE
 6
                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                        )       No. CR. S-10-443 TLN
 9
                                                      )
                                                      )
10           Plaintiff,                               )       STIPULATION REGARDING
                                                      )       EXCLUDABLE TIME PERIODS
11
     v.                                               )       UNDER SPEEDY TRIAL ACT;
                                                      )       FINDINGS
12
     VI A. LE,                                        )
                                                      )       Date: May 15, 2014
13
                                                      )       Time: 9:30 a.m.
             Defendant.                               )       Judge: Honorable Troy L. Nunley
14
                                                      )
                                                      )
15
                                                      )
16

17
             The United States of America through its undersigned counsel, Christiaan Highsmith,
18

19   Assistant United States Attorney, together with counsel for defendant Vi A. Le, John R.

20   Manning, Esq., hereby stipulate the following:
21
          1. By previous order, this matter was set for status conference on April 3, 2014.
22
          2. By this stipulation, defendants now move to continue the status conference until May 15,
23

24
     2014, at 9:30 a.m., and to exclude time between April 3, 2014 and May 15, 2014 under the Local

25   Code T-4 (to allow defense counsel time to prepare).
26
          3. The parties agree and stipulate, and request the Court find the following:
27

28




                                                          1
      Case 2:10-cr-00443-TLN Document 151 Filed 04/02/14 Page 2 of 4


     a. Counsel for the defendant needs additional time to meet with the defendant (with
 1

 2      interpreter) in order to complete their review of the discovery; investigation reports,

 3      discussion and analysis of relevant USSG calculations; and, review the plea
 4
        agreement.
 5
     b. This case includes 526 pages of discovery as well as one disc of video.
 6

 7
     c. The defendant requires the services of a Cantonese interpreter in order to

 8      communicate effectively with counsel.
 9   d. This case is one of a series of cases evolving from a lengthy DEA/Elk Grove PD/Sac
10
        SO investigation into widespread use of vacant home in the Elk Grove area (and Bay
11
        Area) as "grow houses." Many, if not all, of the defendants (and witnesses) in this
12

13      series of cases speak Cantonese (or another dialect) requiring the use of an interpreter.

14      As indicated, this case is part of a much larger operation focusing on indoor grows in
15
        South Sacramento and Elk Grove. It has been remarkably productive – resulting in
16
        the seizure of thousands of plants, numerous search warrants, and the arrest of several
17
        dozen defendants (the vast majority of whom speak Cantonese, Vietnamese,
18

19      Mandarin, or Hakka). Co-coordinating meeting between the Parties has proved

20      challenging.
21
     e. The government and counsel for Mr. Le have had numerous discussions regarding
22
        resolution. The government anticipates providing the defense with a revised draft
23
        plea agreement within the next week. Additional time is necessary to: meet with the
24

25      defendant (and the interpreter) to review the proposed agreement; discuss statutory

26      and USSG implications associated with the agreement; discuss consequences
27

28




                                              2
                Case 2:10-cr-00443-TLN Document 151 Filed 04/02/14 Page 3 of 4


                  associated with a guilty plea (or verdict); discuss possible defenses; discuss trial
 1

 2                scenarios; and, options going forward.

 3            f. Counsel for defendant believes the failure to grant a continuance in this case would
 4
                  deny defense counsel reasonable time necessary for effective preparation, taking into
 5
                  account the exercise of due diligence.
 6

 7
              g. The Government does not object to the continuance.

 8            h. Based on the above-stated findings, the ends of justice served by granting the
 9                requested continuance outweigh the best interests of the public and the defendant in a
10
                  speedy trial within the original date prescribed by the Speedy Trial Act.
11
              i. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
12

13                Section 3161(h)(7)(A) and (B)(iv) within which trial must commence, the time period

14                of April 3, 2014 to May 15, 2014, inclusive, is deemed excludable pursuant to 18
15
                  United States Code Section 3161(h)(7)(A) and (B)(iv) corresponding to Local Code
16
                  T-4 because it results from a continuance granted by the Court at defendant’s request
17
                  on the basis of the Court’s finding that the ends of justice served by taking such
18

19                action outweigh the best interest of the public and the defendant in a speedy trial.

20         4. Nothing in this stipulation and order shall preclude a finding that other provisions of the
21
              Speedy Trial Act dictate that additional time periods are excludable from the period
22
              within which a trial must commence.
23
     IT IS SO STIPULATED.
24

25   Dated: April 1, 2014                                            /s/ John R. Manning
                                                                     JOHN R. MANNING
26                                                                   Attorney for Defendant
27
                                                                     Vi A. Le

28   ///


                                                        3
              Case 2:10-cr-00443-TLN Document 151 Filed 04/02/14 Page 4 of 4



 1
     Dated: April 1, 2014                               Benjamin B. Wagner
 2                                                      United States Attorney

 3                                                      by:/s/Christiaan Highsmith
                                                        CHRISTIAAN HIGHSMITH
 4
                                                        Assistant U.S. Attorney
 5

 6
                                          ORDER
 7

 8   IT IS SO FOUND AND ORDERED this 1st day of April, 2014.

 9

10

11

12                                                Troy L. Nunley
                                                  United States District Judge
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                              4
